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                                       EXHIBIT A

EXHIBIT     IDENTIFICATION
Exh B       Chart of Public Disclosures
Exh C       November 2, 2009 Declaration of T. Mark Jones with exhibits 1-7
Exh D       Excerpts of Deposition of T. Mark Jones May 9, 2007
Exh E       Excerpts of Deposition of T. Mark Jones, December 8, 2008
Exh F       Excerpts of Deposition of John M. Lockwood, M.D July 27, 2009
Exh G       Excerpts of Deposition of T. Mark Jones, December 9, 2008
Exh H       Excerpts of Deposition of T. Mark Jones March 18, 2008
Exh I       DL-TX-0090851-DL-TX-0090855
Exh J       ROX-04606-ROX 04624
Exh K       ROX-TX-16255-16256
Exh L       Excerpts of Deposition of Luis Cobo March 3, 2003
Exh M       Excerpts of Deposition of Luis Cobo, July 31, 2008
Exh N       Excerpts of Deposition of T. Mark Jones May 9, 2007
Exh O       Excerpts of Deposition of Zachary Bentley, March 6, 2008
Exh P       VAC MDL 73407
Exh Q       Excerpts of Deposition of T. Mark Jones, October 8, 2002
Exh R       Excerpts of Deposition of John M. Lockwood, M.D., 30(b)(6) April 23,
            2009
Exh S       Excerpts of Deposition of John M. Lockwood, M.D. March 17, 2008
Exh T       Excerpts of Deposition of David Tawes, Vol II April 25, 2007
Exh U       Excerpts of Deposition of David Tawes Vol III December 13, 2007
Exh V       Excerpts of Deposition of Robert Vito February 6, 2008
Exh W       Excerpts of Deposition of Robert Vito. June 20, 2007
Exh X       Excerpts of Deposition of Nancy Molyneaux, January 11, 2007
Exh Y       Excerpts of Deposition of Linda Ragone, Vol I April 17, 2007
Exh Z       Excerpts of Deposition of John M. Lockwood, M.D -30(b)(6) April 24,
            2009
Exh AA      VAC MDL 90973-90975
Exh BB      VAC MDL 53655 Document marked “Attorney’s Eyes Only” and Bates
            numbered R1-022880, marked as Exhibit 525 at 3/3/03 deposition of Luis
            Cobo in Texas v. Dey case (NOT ATTACHED TO PUBLIC FILING).
Exh CC      VAC MDL 53658 Document marked “Attorney’s Eyes Only” and Bates
            numbered R1-022883, marked as Exhibit 530 at 3/3/03 deposition of Luis
            Cobo in Texas v. Dey case (NOT ATTACHED TO PUBLIC FILING).
Exh DD      Document marked “Attorney’s Eyes Only” and Bates numbered R1-
            030364-30365, marked as Exhibit 515 at 3/3/03 deposition of Luis Cobo in
            Texas v. Dey case (NOT ATTACHED TO PUBLIC FILING).
Exh EE      VAC MDL 49845-49848;
Exh FF      VAC MDL 73915
Exh GG      VAC MDL 71681
Exh HH      MPL 507
Exh II      VAC MDL 91359-91361
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EXHIBIT   IDENTIFICATION
Exh JJ    HHD013-1239 Roxane Exhibit 13
Exh KK    VAC MDL 43715-43720
Exh LL    Excerpts of Deposition of John M. Lockwood, M.D., July 23, 2008
Exh MM    April 10, 2000 Complaint
Exh NN    Excerpts of Deposition of Luis Cobo, March 4, 2008
Exh OO    DL-TX-0122497
